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                          Abstract Details
                     Title: A detailed assessment of glyphosate use and the risks of non-Hodgkin lymphoma overall and for major
                            histological sub-types: findings from the North American Pooled Project (NAPP)
                 Authors: Manisha Pahwa; Laura E. Beane Freeman; John J. Spinelli; Aaron Blair; Paul A. Demers; Shelia Hoar Zahm; Kenneth P.
                          Cantor; Punam Pahwa; James A. Dosman; John R. McLaughlin; Dennis D. Weisenburger; Shelley A. Harris
                 Session: Cancer at work: exposure, risk, and beyond - Armoury, 17 Oct 2016, 10:15 AM - 11:45 AM




    Background & Objectives
    Glyphosate is one of the most frequently used herbicides in Canada and worldwide. In 2015 the Interna onal Agency for Research on Cancer classiﬁed glyphosate as a
    probable (Group 2A) carcinogen for non-Hodgkin lymphoma (NHL), but the epidemiological studies considered were limited by small sample sizes and a lack of exposure-
    response data for NHL sub-types. We evaluated poten al associa ons between diﬀerent exposure metrics of glyphosate use and NHL risk using data from the North
    American Pooled Project (NAPP).

    Methods
    Data from NHL cases (N=1690) and popula on-based controls (N=5131), recruited during the 1980s and 1990s for four diﬀerent studies in Canada and the Midwest U.S., were
    pooled for the NAPP. Self-reported informa on on ever/never, dura on, frequency, and life me-days of glyphosate use was applied in evalua ons of possible associa ons
    with NHL overall and by major histological sub-types (follicular lymphoma [FL], diﬀuse large B-cell lymphoma [DLBCL], small lymphocy c lymphoma [SLL], and other). Odds
    ra os (OR) and 95% conﬁdence intervals (CI) were es mated using mul ple logis c regression models adjusted for demographic and NHL risk factors.

    Results
    Unadjusted for other pes cides, subjects who ever used glyphosate (N=133) had a signiﬁcantly elevated NHL risk (OR=1.43, 95% CI: 1.11, 1.83). Risks were elevated for most
    NHL sub-types, except FL (OR=1.00, 95% CI: 0.65, 1.54). When glyphosate use was examined by dura on, there was a general inverse trend in risks except for SLL, where
    glyphosate use for >3.5 years increased SLL risk (OR=1.98, 95% CI: 0.89, 4.39). ORs from categorical analyses of frequency and life me-days metrics showed mostly posi ve
    exposure-response gradients. Handling glyphosate for >2 days/year was associated with signiﬁcantly higher odds of NHL (OR=2.42, 95% CI: 1.48, 3.96) and DLBCL (OR=2.83,
    95% CI: 1.48, 5.41). There were sugges ve risk increases (p-value ≤0.02) for NHL, FL, and SLL with greater life me-days of glyphosate use. Except for SLL, risks a enuated when
    adjusted for the pes cides 2,4-D, dicamba, and malathion.

    Conclusions
    This analysis suggested that glyphosate use was associated with increased NHL risk. Risk differences by histological sub-type were not
    consistent across glyphosate use metrics and may have been chance findings. Nevertheless, the NAPP’s large sample size yielded more precise
    results than previously possible.




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